     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 1 of 23




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION
CHARLES L. BURTON, JR.,            )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )     No. 2:19-cv-00242-ECM
                                   )
JEFFERSON DUNN,                    )
Commissioner, Alabama              )
Department of Corrections          )
                                   )
      Defendant.                   )

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          DEFENDANT’S ANSWER AND MOTION TO DISMISS
      ════════════════════════════════════════
                                   Steve Marshall
                                   Alabama Attorney General
                                   Lauren A. Simpson*
                                   Alabama Assistant Attorney General
                                   *Counsel of Record
                                   Office of the Attorney General
                                   501 Washington Avenue
                                   Montgomery, AL 36130-0152
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April 26, 2019                     lsimpson@ago.state.al.us
     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 2 of 23




      Defendant Jefferson S. Dunn, in his official capacity as Commissioner of the

Alabama Department of Corrections, for his answer to Plaintiff Charles L. Burton,

Jr.’s, complaint,1 states as follows:


                RESPONSE TO PRELIMINARY STATEMENT

      1.      Defendant admits that Burton is a death-row inmate in the custody of

the Alabama Department of Corrections.

      2.      Defendant has insufficient information to admit or deny this

allegation.

      3.      Defendant has insufficient information to admit or deny this

allegation.

      4.      Defendant has insufficient information to admit or deny this

allegation.

      5.      Defendant admits that Chris Summers is the chaplain of Holman

Correctional Facility and has participated in executions in that role. However, as of

April 2019, the ADOC’s lethal injection protocol has been amended, and neither

Chaplain Summers nor any other religious advisor will be permitted to be present

in the execution chamber.2 While the ADOC continues to develop a protocol for

nitrogen hypoxia, Defendant affirms that no religious advisor, including the


1. Doc. 1.
2. See Exhibit A.

                                                                                   2
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 3 of 23




Holman chaplain, will be present in the execution chamber.

      6.    Defendant admits that ADOC policy prohibits persons who are not

employed by the ADOC and trained in the execution protocol from being in the

chamber during an execution, one of the most sensitive tasks undertaken by the

ADOC. While the prison chaplain was previously allowed to be present in the

chamber, the protocol has been amended to exclude him.

      7.    Denied.

      8.    Denied.

      9.    Admitted.

      10.   Admitted. Domineque Ray made a last-minute request that his imam

be present in the execution chamber, which was denied. As a concession, the

ADOC removed Chaplain Summers from the chamber for Ray’s execution.

      11.   Defendant admits that an ADOC filing in Ray’s case, drafted under

the severe time constraints of last-minute execution litigation, contained a

misstatement. Since that time, and in light of the Supreme Court’s recent decision

in Murphy v. Collier,3 the ADOC has amended the protocol to exclude the Holman

chaplain from the execution chamber. Henceforth, no spiritual advisor of any kind

will be permitted in the chamber, regardless of whether that person is an ADOC

employee.


3. 139 S. Ct. 1111 (2019) (mem.).

                                                                                3
     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 4 of 23




      12.    The procedural history of Ray’s case is admitted.

      13.    The procedural history of Ray’s case is admitted.

      14.    The procedural history of Ray’s case is admitted.

      15.    Admitted.

      16.    Admitted. Burton’s execution is not pending at this time.

      17.    Denied.

      18.    Defendant denies that any action of this Court is required to exclude

the Holman chaplain from the execution chamber, as the ADOC has amended its

protocol. Defendant admits that no religious or spiritual advisors will be permitted

to be in the chamber but denies that Burton is entitled to relief on that ground.


                RESPONSE TO JURISDICTION AND VENUE

      19.    Affirmed.

      20.    Affirmed.


                            RESPONSE TO PARTIES

      21.    Defendant admits that Burton is a death-row inmate at Holman

Correctional Facility and that he was sentenced to death for his participation in the

robbery-murder of Doug Battle in 1991. Burton was an active participant in that

crime, the facts of which were summarized by the Alabama Court of Criminal




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     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 5 of 23




Appeals on direct appeal.4 As that court concluded, “Although he was not the

actual person to pull the trigger, [Burton’s] degree of participation in the robbery-

murder makes the application of the death sentence constitutional in this case.”5

      22.     Admitted.


                 RESPONSE TO CASE OR CONTROVERSY

      23.     Denied.

      24.     Denied.


   RESPONSE TO EXHAUSTION OF ADMINISTRATIVE REMEDIES

      25.     Admitted.


                 RESPONSE TO FACTUAL ALLEGATIONS

      26.     Defendant has insufficient information to admit or deny this

allegation.

      27.     Admitted.

      28.     Defendant has insufficient information to admit or deny this

allegation.

      29.     Admitted.

      30.     Admitted.


4. Burton v. State, 651 S. 2d 641, 643–44 (Ala. Crim. App. 1993).
5. Id. at 658–59.

                                                                                    5
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 6 of 23




      31.   Admitted.

      32.   Admitted.

      33.   Admitted.

      34.   Denied. As of April 2019, the lethal injection protocol has been

amended to exclude the Holman chaplain from the execution chamber.6 While the

ADOC continues to develop a protocol for nitrogen hypoxia, Defendant affirms

that no religious advisor, including the Holman chaplain, will be present in the

execution chamber.

      35.   Admitted.

      36.   Admitted.

      37.   Admitted.

      38.   Admitted.

      39.   Admitted.

      40.   Admitted.

      41.   Admitted.

      42.   Admitted.

      43.   Admitted.

      44.   Admitted.

      45.   Admitted in part. Pursuant to the amended protocol, all religious


6. See Exhibit A.

                                                                              6
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 7 of 23




advisors must leave at the appointed time.

      46.    Admitted to the extent that several hours may elapse before the death

sentence is carried out due to stays put in place for the courts to consider the

inmate’s eleventh-hour litigation. Pursuant to the amended protocol, all religious

advisors must leave at the appointed time.

      47.    Admitted.

      48.    Admitted to the extent that Ray’s religious advisor was removed from

Ray’s cell at the appointed time pursuant to the protocol.

      49.    Admitted. Pursuant to the amended protocol, all religious advisors

must leave at the appointed time.

      50.    Denied. The protocol has been amended to exclude the Holman

chaplain from the execution chamber.

      51.    Admitted to the extent that witnesses present at the request of the

condemned, including his religious advisor, watch from a room adjacent to the

execution chamber and in view of the condemned.

      52.    Denied. The protocol has been amended to exclude the Holman

chaplain from the execution chamber.

      53.    Denied. The protocol has been amended to exclude the Holman

chaplain from the execution chamber.

      54.    Admitted to the extent that Chaplain Summers has been present at


                                                                                7
     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 8 of 23




most executions since 1997.

      55.     Admitted.

      56.     Denied.

      57.     Admitted.

      58.     Admitted.

      59.     Admitted.

      60.     Defendant has insufficient information to admit or deny this

allegation.

      61.     Denied, as Chaplain Summers will not be present during Burton’s

execution.

      62.     No religious advisor, including the Holman chaplain, will be present

in the execution chamber during Burton’s execution.

      63.     Denied.

      64.     Defendant has insufficient information to admit or deny this

allegation.

      65.     Defendant has insufficient information to admit or deny this

allegation.

      66.     Defendant has insufficient information to admit or deny this

allegation.

      67.     Admitted to the extent that Burton made a timely election of nitrogen


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     Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 9 of 23




hypoxia. While the ADOC continues to develop an execution protocol for nitrogen

hypoxia, Defendant denies that any religious advisor will be present in the

execution chamber.

      68.     Denied to the extent that the Holman chaplain will be present in the

execution chamber during Burton’s execution.


                    RESPONSE TO FIRST CAUSE OF ACTION
                                 (RLUIPA)

      69.     Denied.

      70.     Admitted.

      71.     Admitted.

      72.     Admitted.

      73.     Defendant has insufficient information to admit or deny this

allegation.

      74.     Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber.7 While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

Moreover, RLUIPA uses a burden-shifting framework, and Burton has not shown

that the ADOC’s policies impose a substantial burden on his religious exercise: he


7. See Exhibit A.

                                                                                 9
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 10 of 23




will be permitted a contact visit with his religious advisor shortly before his

execution is scheduled to begin, and his advisor may witness the execution in

Burton’s view, if Burton so desires. Even if Burton had met this threshold

requirement to shift the burden, the ADOC has a compelling governmental interest

in the safety of its facilities, personnel and visitors, and so individuals who are not

ADOC employees and trained members of the execution team are excluded from

the execution chamber.8 This State policy is appropriate under RLUIPA. Plaintiff

has cited no authority, and Defendant is aware of none, holding that a prisoner is

entitled to spiritual counsel of his choice inside the execution chamber itself when

the execution protocol prohibits the presence of all spiritual advisors.

      75.    Denied. As stated above, the ADOC has a compelling governmental

interest in the safety of its facilities, personnel and visitors, and so individuals who

are not ADOC employees and trained members of the execution team are excluded

from the execution chamber. This State policy is appropriate under RLUIPA.

Plaintiff has cited no authority, and Defendant is aware of none, holding that a


8. See Jackson v. Danberg, 594 F.3d 210, 230 (3d Cir. 2010) (the State has a
   “moral obligation to carry out executions with the degree of seriousness and
   respect that the state-administered termination of human life demands”); Ray v.
   Dunn, No. 2:19-cv-00088-WKW, 2019 WL 418105, at *5 (M.D. Ala. Feb. 1,
   2019); see also Thompson v. Dep’t of Corrs., 18 P.3d 1198, 1208 (2001)
   (“[D]efendants’ policy requiring Reverend Margaret Harrell to leave Thompson
   20 minutes before his departure for the execution chamber did not violate
   [California law]. For the same reasons, this rule did not violate the First
   Amendment’s guarantee of freedom of religion.”)

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    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 11 of 23




prisoner is entitled to spiritual counsel of his choice inside the execution chamber

itself when the execution protocol prohibits the presence of all spiritual advisors.

      76.     Admitted to the extent that the lethal injection protocol previously

called for the Holman Chaplain to be present in the execution chamber to pray with

the condemned if the condemned so desired.

      77.    Denied. As stated above, the ADOC has a compelling governmental

interest in the safety of its facilities, personnel and visitors, and so individuals who

are not ADOC employees and trained members of the execution team are excluded

from the execution chamber. This State policy is appropriate under RLUIPA.

Plaintiff has cited no authority, and Defendant is aware of none, holding that a

prisoner is entitled to spiritual counsel of his choice inside the execution chamber

itself when the execution protocol prohibits the presence of all spiritual advisors.

Moreover, the Holman chaplain is an ADOC employee, whereas other religious

advisors of any professed faith are not.

      78.    Admitted to the extent that Burton has quoted RLUIPA, but denied to

the extent that Burton has met his burden under RLUIPA or that the State has not

shown a compelling governmental interest in prohibiting non–ADOC employees

from being in the execution chamber.

      79.    Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to


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    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 12 of 23




develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

      80.    Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber.9 While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.


                RESPONSE TO SECOND CAUSE OF ACTION
                              (ARFA)

      81.    Denied.

      82.    Admitted.

      83.    Denied.

      84.    Denied. As discussed above, the ADOC has a compelling

governmental interest in the safety of its facilities, personnel and visitors, and so

individuals who are not ADOC employees and trained members of the execution

team are excluded from the execution chamber. This State policy is appropriate

under the ARFA. Plaintiff has cited no authority, and Defendant is aware of none,

holding that a prisoner is entitled to spiritual counsel of his choice inside the

execution chamber itself when the execution protocol prohibits the presence of all

spiritual advisors.


9. See Exhibit A.

                                                                                  12
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 13 of 23




      85.   Denied. The ADOC has a compelling governmental interest in the

safety of its facilities, personnel and visitors, and so individuals who are not

ADOC employees and trained members of the execution team are excluded from

the execution chamber. This State policy is appropriate under the ARFA. Plaintiff

has cited no authority, and Defendant is aware of none, holding that a prisoner is

entitled to spiritual counsel of his choice inside the execution chamber itself when

the execution protocol prohibits the presence of all spiritual advisors. Moreover,

the lethal injection protocol has been amended to exclude the Holman chaplain

from the execution chamber. While the ADOC continues to develop a protocol for

nitrogen hypoxia, Defendant affirms that no religious advisor, including the

Holman chaplain, will be present in the execution chamber.

      86.   Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

      87.   Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.




                                                                                 13
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 14 of 23




                RESPONSE TO THIRD CAUSE OF ACTION
                     (ESTABLISHMENT CLAUSE)

      88.   Denied.

      89.   Admitted.

      90.   Admitted.

      91.   Admitted.

      92.   Admitted.

      93.   Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

      94.   Denied. The ADOC has a compelling governmental interest in the

safety of its facilities, personnel and visitors, and so individuals who are not

ADOC employees and trained members of the execution team are excluded from

the execution chamber. This State policy is appropriate under the Establishment

Clause. Plaintiff has cited no authority, and Defendant is aware of none, holding

that a prisoner is entitled to spiritual counsel of his choice inside the execution

chamber itself when the execution protocol prohibits the presence of all spiritual

advisors.

      95.   Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

                                                                                14
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 15 of 23




develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

      96.   Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.


               RESPONSE TO FOURTH CAUSE OF ACTION
                     (FREE EXERCISE CLAUSE)

      97.   Denied.

      98.   Admitted.

      99.   Admitted.

      100. Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

Moreover, the ADOC has a compelling governmental interest in the safety of its

facilities, personnel and visitors, and so individuals who are not ADOC employees

and trained members of the execution team are excluded from the execution

chamber. This State policy is appropriate under the Free Exercise Clause. Plaintiff

has cited no authority, and Defendant is aware of none, holding that a prisoner is



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    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 16 of 23




entitled to spiritual counsel of his choice inside the execution chamber itself when

the execution protocol prohibits the presence of all spiritual advisors.

      101. Denied. The ADOC has a compelling governmental interest in the

safety of its facilities, personnel and visitors, and so individuals who are not

ADOC employees and trained members of the execution team are excluded from

the execution chamber. This State policy is appropriate under the Free Exercise

Clause.

      102. Denied. A condemned inmate has the benefit of a contact visit with

his religious advisor before he is taken to the execution chamber, and his advisor

may witness the execution in the sight of the condemned if the condemned so

chooses.

      103. Denied. Only ADOC employees who are trained, practiced members

of the execution team are permitted into the execution chamber as a security

measure. No one else—not other ADOC employees, and certainly not free-world

volunteers, no matter their level of clearance—is allowed into the chamber. An

execution is one of the most serious and solemn tasks undertaken by the ADOC,

and maintaining the security of the facility and the safety of all participants is of

paramount importance.10


10. Most fundamentally, ADOC employees trained in the protocol can be trusted to
    follow the protocol and adhere to orders, whereas free-world religious advisors
    are under no such strictures. Indeed, during Domineque Ray’s execution

                                                                                  16
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 17 of 23




      104. Denied.

      105. Denied.

      106. Denied. The lethal injection protocol has been amended to exclude the

Holman chaplain from the execution chamber. While the ADOC continues to

develop a protocol for nitrogen hypoxia, Defendant affirms that no religious

advisor, including the Holman chaplain, will be present in the execution chamber.

      107. Denied. The ADOC has a compelling governmental interest in the

safety of its facilities, personnel and visitors, and so individuals who are not

ADOC employees and trained members of the execution team are excluded from

the execution chamber. This State policy is appropriate under the Free Exercise

Clause. Plaintiff has cited no authority, and Defendant is aware of none, holding

that a prisoner is entitled to spiritual counsel of his choice inside the execution

chamber itself.

      108. Denied. Burton will have the benefit of a contact visit with his

spiritual advisor shortly before his execution, and if he so desires, that advisor may

witness from the adjoining room, separated by a two-way window. Burton has

   litigation, his advisor, Yusuf Maisonet, spoke to a reporter about the decision.
   The article noted:
           Maisonet said he was asked not to comment to the media, but he
           agreed to an interview with AL.com.
             “They want to treat me like an employee without benefits,”
           Maisonet said. “They want to control me. I do what I want to do.”
   Greg Garrison, Muslim Chaplain: Death Row Inmate Needs Imam at
   Execution, AL.COM (Feb. 2, 2019), https://bit.ly/2UDQu6i.

                                                                                   17
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 18 of 23




directed this Court to no controlling federal authority, whether statutory or

caselaw, requiring that an inmate be allowed the spiritual advisor of his choice

within the execution chamber.


                    RESPONSE TO PRAYER FOR RELIEF

      109. Denied.

      110. As Justice Kavanaugh explained in his concurrence to Murphy:

      In an equal-treatment case of this kind, the government ordinarily has
      its choice of remedy, so long as the remedy ensures equal treatment
      going forward. See Stanton v. Stanton, 421 U.S. 7, 17–18 (1975). For
      this kind of claim, there would be at least two possible equal-
      treatment remedies available to the State going forward: (1) allow all
      inmates to have a religious adviser of their religion in the execution
      room; or (2) allow inmates to have a religious adviser, including any
      state-employed chaplain, only in the viewing room, not the execution
      room. A State may choose a remedy in which it would allow religious
      advisers only into the viewing room and not the execution room
      because there are operational and security issues associated with an
      execution by lethal injection. Things can go wrong and sometimes do
      go wrong in executions, as they can go wrong and sometimes do go
      wrong in medical procedures. States therefore have a strong interest in
      tightly controlling access to an execution room in order to ensure that
      the execution occurs without any complications, distractions, or
      disruptions. The solution to that concern would be to allow religious
      advisers only into the viewing room.11

The ADOC has opted for the second alternative. Burton’s rights under RLUIPA,

ARFA, and the First Amendment will not be violated during his execution, and so

Defendant asks that this matter be dismissed.


11. 139 S. Ct. at 1112 (Kavanaugh, J., concurring) (citation edited).

                                                                                18
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 19 of 23




                                     DEFENSES

      A.     This action fails to state a claim for relief as a matter of law.

      B.     Burton is not entitled to the relief he seeks.

      C.     Alabama’s lethal injection protocol does not amount to intentional,

reckless indifference to acts violating any party’s constitutional rights.

      D.     Defendant denies any claim or allegation of Burton’s complaint that is

not expressly admitted above.



      Respectfully submitted on this the 26th day of April 2019.

                                        STEVE MARSHALL
                                        ATTORNEY GENERAL OF ALABAMA
                                        BY—

                                        /s/ Lauren A. Simpson
                                        Lauren A. Simpson
                                        Alabama Assistant Attorney General
                                        Counsel for Defendant




                                                                                 19
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 20 of 23




                        CERTIFICATE OF SERVICE

      I certify that on April 26, 2019, I served a copy of the foregoing upon

counsel for the Plaintiff by filing the same via the Court’s CM/ECF system, which

shall cause the same to be electronically transmitted to: Matt D. Schulz, Spencer

J. Hahn, and John Anthony Palombi.


                                     Respectfully submitted,

                                     Steve Marshall
                                     Alabama Attorney General

                                     /s/ Lauren A. Simpson
                                     Lauren A. Simpson
                                     Alabama Assistant Attorney General
                                     Counsel for Defendant


OF COUNSEL:

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                                                                              20
Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 21 of 23




                     EXHIBIT A
    Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 22 of 23




                                AFFIDAVIT OF JEFFERSON            S.   DUNN

STATE OF ALABAMA

MONTGOMERY COI.'NTY

        Before me, a Notary Public in and for said County and State, personally appeared Jefferson

S. Dunn and being by me first duly sworn, deposes and says under oath as        follows:

        I   .       My name is Jefferson S. Dunn, I am over (19) nineteen years of age, I have personal

knowledge of the following facts, and state that those facts are true and correct.


        2.          I am Commissioner oftheAlabamaDepartment of Corrections (hereinafterreferred

to as, '.ADOC"). In my capacity as Commissioner of the ADOC, I have the authority to develop

and/or modifu policies and procedures of the ADOC for execution of persons sentenced to death

for a capital crime.


        3.          In my capacity as Commissioner, I modified the procedures, described in paragraph

2., above, so that the Chaplain of W.C. Holman Prison no longer remains in the execution chamber

with the condemned offender at the time of the condernned's execution.

       4.           Further, no spiritual advisor, including the Chaplain of W.C. Holman Prison,   will

remain at the condemned's cell beyond the time allowed in the policies and procedures of the

ADOC for execution of persons sentenced to death for        a capital crime.


        5.          Finally, while the ADOC policies and procedures for execution of           persons

sentenced       to death by nitrogen hypoxia are still being developed, thev will reflect the    above

modified policies and procedures.




SWORN TO and SUBSCRIBED BEFORE ME on this the 25th day of April, 2019.
   Case 2:19-cv-00242-RAH-SMD Document 22 Filed 04/26/19 Page 23 of 23




(sEAL)
                                 Notary Public
                                 My commission Expires:
